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 Attorneys for Kevin Long and Millcreek Commercial Properties, LLC


                       IN THE UNITED STATES DISTRICT COURT

                   FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


  KATE GRANT and KARMANN KASTEN,
  LLC,
                                                    REPLY IN SUPPORT OF MOTION TO
  Plaintiffs,                                         WITHDRAW AS COUNSEL FOR
                                                        DEFENDANT MILLCREEK
  v.                                                 COMMERCIAL PROPERTIES, LLC

  KEVIN LONG, MILLCREEK
  COMMERCIAL PROPERTIES, LLC, et al.                    Case No. 2:23-0936-AMA-CMR

  Defendants.                                            Judge Ann Marie McIff Allen

                                                      Magistrate Judge Cecilia M. Romero


        Terry E. Welch, Bentley J. Tolk and Rodger M. Burge of the law firm Parr Brown Gee &

 Loveless file this Reply in Support of Motion to Withdraw as counsel for Defendant Millcreek

 Commercial Properties, LLC.
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                                            Introduction

        On January 22, 2025, Terry E. Welch, Bentley J. Tolk and Rodger M. Burge (the

 “Undersigned Counsel”) of the law firm Parr Brown Gee & Loveless filed a Motion to Withdraw

 as Counsel for Defendant Millcreek Commercial, LLC (the “Motion”). On January 31, 2025,

 Defendant Colliers International (“Colliers”) filed a Response (the “Response”) to the Motion. The

 Response is not styled as an opposition to the Motion. Rather, in the Response, Colliers “responds”

 to the Motion and provides certain points and an improper suggestion for the Court to “perhaps”

 consider.

                                             Argument

        The Motion should be granted because i) it meets the requirements under the local rules,

 ii) all the factors that federal courts consider when adjudicating motions for withdrawal favor

 withdrawal in this case, and iii) the Response does not contain any proper or relevant arguments

 against withdrawal. In addition, although the Response mentions that “perhaps” certain third

 parties “should be ordered joined in this action as additional defendants,” Colliers has not filed a

 separate motion seeking that relief. Rather, the Response concludes by stating that at the hearing

 on the Motion, “[p]erhaps . . . these questions can be addressed.” Since it is not part of a motion

 and is contained in a response to the Motion, the Response’s half-hearted and irrelevant joinder

 request should be denied as improper.

    i. The Motion satisfies local rule DUCivR 83-1.4(b)(2).

        Local rule 83-1.4 governs when counsel may withdraw from representing a party. If

 counsel wishes to withdraw from a pending action, and the party counsel represents is not currently

 represented by another attorney, then the withdrawing attorney may withdraw only with leave from


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 the court. See DUCivR 83-1.4(b)(2). Courts may grant a request to withdraw when counsel

 provides certain information required under the local rule. See id. The Motion provides the

 necessary information under the rule.

         First, the Motion states that the reason for withdrawal is because “Millcreek has ceased

 operations.” Soon after the Motion was filed, Millcreek voluntarily dissolved. (See exhibit A.)

         Second, the Motion provides Millcreek’s last known contact information.

         Third, the Motion states that Millcreek consents to the withdrawal. Prior to the filing of the

 Motion, Millcreek instructed the Undersigned Counsel to withdraw because Millcreek does not

 wish to be represented by the Undersigned Counsel any longer in this case. (See exhibit B.)

         Fourth, the Motion provides information on the status of the case.

         Fifth, because this case is not scheduled for trial, the Motion did not need to provide a

 certification that Millcreek is eligible to proceed to trial.

         Sixth, the Undersigned Counsel certified in the Motion that a copy of the Motion had been

 filed and served on all parties.

         Seventh, the Undersigned Counsel provided a proposed order for the Court granting the

 Motion.

     ii. Applicable factors weigh in favor of granting the Motion.

         “Aside from this Court’s local rules and Utah’s Rules of Professional Conduct, the Tenth

 Circuit has not yet set forth any factors a court should consider when analyzing a motion to

 withdraw as counsel.” Taylor v. Nat’l Collegiate Student Loan Tr. 2007-1, No. 2:19-CV-00120-

 BSJ, 2020 WL 9255406, at *3 (D. Utah June 29, 2020). But federal courts generally consider the

 following factors: 1) undue delay; 2) prejudice to any party; 3) financial burden on counsel; 4) the


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 state of the attorney-client relationship; and 5) interests of justice. See id. Finally, courts have wide

 discretion in granting or denying motions to withdraw. See Abell v. Babbitt, 176 F.3d 4881999

 WL 215403, *2 (10th Cir.1999) (unpublished decision) (quoting Washington v. Sherwin Real

 Estate, Inc., 694 F.2d 1081, 1087 (7th Cir.1982)). Each of those factors weighs in favor of granting

 the Motion.

         First, the Undersigned Counsel did not delay in requesting to withdraw. The Undersigned

 Counsel filed the Motion soon after Millcreek instructed them to withdraw. Indeed, the

 Undersigned Counsel filed the Motion one day before Millcreek filed its own statement of

 dissolution. (See exhibit A.)

         Second, granting the Motion will not unduly prejudice any party. Other than the hearing

 scheduled for argument on the Motion, there are no other hearings scheduled in this case. And the

 dispositive motion deadline is not until July 11, 2025.

         The third factor weighs in favor of withdrawal because Millcreek has for a long period of

 time not been paying the Undersigned Counsel for their legal work. Withdrawal is thus necessary

 due to long-outstanding unpaid legal fees. See Triple-I Corp. v. Hudson Assocs. Consulting, Inc.,

 No. 06-2195-EFM, 2010 WL 11566504, at *1 (D. Kan. May 5, 2010).

         The fourth factor—the status of the attorney-client relationship—should be decisive in this

 case. Millcreek instructed the Undersigned Counsel to withdraw from representing Millcreek in

 this case. In other words, Millcreek does not want to be represented by the Undersigned Counsel

 in this matter or in any other matter. Millcreek’s withdrawal directive to the Undersigned Counsel

 should be honored. Even if granting the Motion did cause some delay in litigation, it “would be

 better to address any issues related to future motion to extend . . . rather than deny [Millcreek] an


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 attorney of [its] choice.” Gamez v. Country Cottage Care & Rehab., 377 F. Supp. 2d 1101, 1103

 (D.N.M. 2005) (granting motion to withdraw).

         Finally, granting the Motion would not be contrary to the interests of justice, because doing

 so would not improperly delay this case. Millcreek does not currently intend to engage new counsel

 in this litigation. (See exhibit B.) In any case, as shown above, the parties will have ample time to

 prepare dispositive motions if they wish, and trial, if necessary, would not be unnecessarily delayed

 if delayed at all. Also, as referenced in the recently filed status report, the parties intend to stipulate

 to extend the current fact discovery deadline by two months, so the parties will also still have

 ample time to complete fact discovery.

     iii. The Response does not include any proper arguments against withdrawal.

         In the Response, Colliers sets forth three bases why the Motion could potentially be denied.

 But none of those bases addresses the requirements of the local rule or the factors that courts

 consider when adjudicating a motion to withdraw.

         First, the Response states that “companies that are no longer operating can still be”

 represented in litigation. Although the Undersigned Counsel do not dispute that statement,

 adjudication of the Motion does not require that the Court determine whether Millcreek may be

 represented by any counsel; instead, the Motion addresses whether the Undersigned Counsel may

 withdraw.

         Second, the Response argues that the Motion “leaves too many unanswered questions,”

 such as whether Millcreek is going to hire new counsel, the nature and location of any Millcreek

 assets, and the identities of any successors to Millcreek. But none of those questions is relevant to

 adjudicating the Motion. At best, those questions go to concerns that parties might have about


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 whether, and how, a judgment against Millcreek could be satisfied. Resolution of those concerns

 is not required under the local rule and is not something that courts consider before allowing

 withdrawal of counsel.

        Third, the Response suggests that “perhaps [other] entities should be ordered joined to this

 action” instead of granting the Motion. The applicable rules, however, do not require that

 additional parties be joined before counsel can withdraw from representation. If Colliers were

 serious about attempting to join additional parties, Colliers would need to file an appropriate

 motion asking the Court to do so. See Fed. R. Civ. P. 7 (stating that a “request for a court order

 must be made by motion”). . But it is improper to make such a request in an opposition to a Motion.

 See DUCivR 7-1(a)(3) (noting that a “party may not make a motion . . . in a response or reply. Any

 motion must be separately filed”).

        In sum, the Response’s arguments relating to the motion are either irrelevant or improper,

 or both.

                                            Conclusion

        For the foregoing reasons, and those set forth in the Motion, the Undersigned Counsel

 respectfully request that the Court grant the Motion and grant them leave to withdraw as counsel

 for Millcreek in this case.

        DATED: February 14, 2025

                                       PARR BROWN GEE & LOVELESS

                                       By: /s/ Terry E. Welch
                                              Terry E. Welch

                                       By: /s/ Bentley J. Tolk
                                              Bentley J. Tolk



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                             By: /s/ Rodger M. Burge
                                    Rodger M. Burge


                             Attorneys for Kevin Long and
                             Millcreek Commercial Properties, LLC




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on February 14, 2025, I caused to be served a true and correct copy of

 the foregoing REPLY IN SUPPORT OF MOTION TO WITHDRAW AS COUNSEL FOR

 DEFENDANT MILLCREEK COMMERCIAL PROPERTIES, LLC via the CM/ECF

 system, which automatically provided notice to all counsel of record.




                                                            By: /s/ Bentley J. Tolk
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                                 Exhibit A
                                                   Filed in the Office of          Filing Number
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                                                                                   January 2, 2025 05:01 PM
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                                                                                   Entity ID
                                                                                   11469275-0160
                                                   Corporations and                Number of Pages
                                                   Commercial Code                 1
                                                   Filed in the state of Utah
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                                  MARGARET W. BUSSE                                      ADAM WATSON
     SPENCER J. COX               Executive Director                                     Division Director
         Governor

  DEIDRE M. HENDERSON
    Lieutenant Governor



1/2/2025 5:01:00 PM
 Filing Type                  Domestic Limited Liability Company - Statement of Dissolution
 Filing/EffectiveDate         1/2/2025 5:01:00 PM effective, 1/2/2025 5:01:00 PM
 Entity Name                  MILLCREEK COMMERCIAL PROPERTIES, LLC
 Entity Number                11469275-0160                                   Entity Status          INACTIVE VOLUNTARILY DISSOLVED

The Domestic Limited Liability Company Statement of Dissolution for MILLCREEK COMMERCIAL PROPERTIES, LLC was/were filed
with the Utah Division of Corporations and Commercial Code on 1/2/2025 5:01:00 PM, effective 1/2/2025.


Reference Information
       Work Order Item #                     Tracking/Filing #                       Submitter Name                          Submitter Number
     W20250106272006                       250201201621B                      DCCC - FILING OFFICE                                     7051




                                                  Division of Corporations and Commercial Code
                          Heber M. Wells Building • 160 East 300 South • P.O. Box 146705 Salt Lake City, UT 84114-6741
                        www.corporations.utah.gov • telephone (801) 530-4849 • toll-free in Utah (877) 526-3994 • fax (801) 530-6438
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                                 Exhibit B
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  ______________________________________________________________________________
                         DECLARATION OF KEVIN LONG


         I, KEVIN LONG, declare and state as follows:

         1.      I am over 21 years of age and am in all respects competent to make this

  Declaration. The following statements are true to the best of my knowledge, information, and

  belief, formed after reasonable inquiry. If called upon to testify, I would testify in a manner

  consistent with this Declaration.

         2.      I am the former CEO of Millcreek Commercial Properties, LLC (“Millcreek”).

         3.      During January 2025, I terminated Parr Brown Gee & Loveless’s (“Parr Brown”)

  representation of Millcreek and instructed Parr Brown (and all of Parr Brown’s attorneys) to

  withdraw from representing Millcreek in all pending litigation to which Millcreek is a party.

         5.      Millcreek does not currently intend to engage new counsel in any pending cases

  to which Millcreek is a party.

         6.      I am aware that as an entity, Millcreek cannot represent itself in any pending

  lawsuits and must either obtain replacement counsel or risk default being entered against it.
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         I declare under penalty of perjury of the laws of the United States and the State of Utah

  that the foregoing is true and correct.



  EXECUTED this 14 February 2025.



                                                      /s/:Kevin Long




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